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                   EXHIBIT A
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                                    Mott Group
                          Sources & Uses - (UNAUDITED)
                                May 16 - June 30, 2024

                                                             Total

Sources - Cash Receipts                                         1,221,705.66

Uses - Cash Disbursements
 Labor and benefits                                               634,435.25
 Food and beverage                                                410,435.55
 General operating expenses                                       117,566.62
 Rent                                                              98,416.91
 Cleaning                                                          29,092.28
 Utilities                                                          8,120.51
 Insurance                                                          6,709.15
Total Uses                                                      1,304,776.27

                                                                     (83,070.61)
